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THE HONORABLE ROBERT J. BRYAN

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON
AT TACOMA

DEMOND LAVELLE BABB. a single
person,
Plaintiff,
v.

CITY OF TACOMA, a Washington
Municipal Corporation; “JOHN DOES 1-
2” and, “JANE DOES 1-2”, husbands and
wives; CITY OF FIFE, a Washington
Municipal Corporation; “JOHN DOES 3-
7° and, “JANE DOES 3-7”, husbands and
wives; SOUTH CORRECTIONAL
ENTITY, a Washington Municipal
Corporation; and “JOHN DOES 8-15” and
“JANE DOES 8-15”, husbands and wives,

Defendants.

 

No. 3:18-CV-05215-RJB

NOTICE OF SETTLEMENT;
STIPULATION AND ORDER OF
DISMISSAL

IT IS HEREBY STIPULATED that an order may be entered herein dismissing

the above-entitled action, with prejudice and without costs. and without notice of

presentation of this order, for the reason that the same has been settled and the

settlement is reasonable.

STIPULATION AND ORDER OF DISMISSAL

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Case 3:18-cv-05215-RJB Document 64

Dated this 5" day of August, 2019.

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Deola Lebron WSBA 41290
Attorney for Plaintiff

STIPULATION AND ORDER OF DISMISSAL

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ASS
Michele Atkins WSBA 32435 <0
Attorney for Defendants
South Correctional Entity and

John Does 8-15 and Jane Does 8-15

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Monica Cadagan WSBA 48791
Attorney for Defendant
South Correctional Entity and

John Does 8-15 and Jane Does 8-15

 

Stewart A. Estes’ WSBA 15535
Attorney for Defendant
South Correctional Entity

 

Matthew Segal WSBA 29797
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ORDER

It appearing to the Court from the foregoing Stipulation that the above-entitled action

should be dismissed, with prejudice, it is by the Court

ORDERED that the above entitled action be, and the same is hereby dismissed with

prejudice.

DATED this __

(le kK,

Deola Lebron WSBA 750
Attorney for Plaintiff

day of September, 2019.

 

THE HONORABLE ROBERT J. BRYAN ©

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Michele Atkins WSBAS 435
Attorney for Defendants.

South Correctional Entity and

John Does 8-15 and Jane Does 8-15

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STIPULATION AND ORDER OF DISMISSAL

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CERTIFICATE OF SERVICE

I hereby certify that on the date below, | electronically filed the foregoing
STIPULATION AND ORDER FOR DISMISSAL with the Clerk of the Court using the
CM/ECF system, which will send notification of such filing to the following:

Counsel for Defendant SCORE and John Does 8-15

Michele Atkins WSBA| 32435
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Signed at Seattle. Washington this 5"! day of September, 2019.

/ Me

 

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STIPULATION AND ORDER OF DISMISSAL
